983 F.2d 1057
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Herbert W. ROSIER, Petitioner-Appellant,v.Aaron JOHNSON;  Attorney General of North Carolina,Respondents-Appellees.
    No. 92-6736.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 30, 1992Decided:  December 30, 1992
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Winston-Salem.  Richard C. Erwin, Senior District Judge.  (CA-90-502-6)
      Herbert W. Rosier, Appellant Pro Se.
      Richard Norwood League, Office of the Attorney General of North Carolina, Raleigh, North Carolina, for Appellees.
      M.D.N.C.
      DISMISSED.
      Before WILKINS, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Herbert W. Rosier seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny leave to proceed in forma pauperis, deny a certificate of probable cause to appeal, and dismiss the appeal on the reasoning of the district court.  Rosier v. Johnson, No. CA-90-502-6 (M.D.N.C. Jan. 6, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    